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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________
VANESHA JOHNSON,

                        Plaintiff,                     1:20-cv-1019
                                                       (GLS/CFH)
                  v.

TEVA PHARMACEUTICALS USA,
INC. et al.,

                   Defendants.
________________________________

                                     ORDER

      Judicial disqualification is governed by 28 U.S.C. § 455.

Disqualification is required when, among other things, a judge “knows that

he, individually or as a fiduciary, or his spouse or minor child residing in his

household, has a financial interest in the subject matter in controversy or in

a party to the proceeding, or any other interest that could be substantially

affected by the outcome of the proceeding.” Id. § 455(b)(4). Upon review

of the papers, disqualification is required in this case.

      Accordingly, it is hereby

      ORDERED that, pursuant to 28 U.S.C. § 455, the undersigned

disqualifies himself from presiding over this matter; and it is further

      ORDERED that the Clerk shall reassign this matter to another District
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Judge; and it is further

      ORDERED that the case has been randomly reassigned to District

Judge David N. Hurd; and it is further

      ORDERED that the Clerk provide a copy of this Order to plaintiffs in

accordance to the Local Rules.

IT IS SO ORDERED.

October 14, 2020
Albany, New York




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